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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

                                                Chapter 11
 IN RE:
                                                Case No. 18-10274 (SDB)
 FIBRANT, LLC, et al.,
                                                (Jointly Administered)
                            Debtors.


 FIBRANT, LLC, EVERGREEN NYLON
 RECYCLING LLC, FIBRANT SOUTH CENTER,
 LLC, GEORGIA MONOMERS COMPANY, LLC,
 CHEMICAINVEST HOLDING, B.V., and
 AUGUSTA LIQUIDATIONS, LLC,

          Plaintiffs,

 v.

 ACE PROPERTY & CASUALTY INSURANCE
 COMPANY, a corporation, UNITED STATES FIRE
 INSURANCE COMPANY, a corporation,
 CENTURY INDEMNITY COMPANY, a
 corporation, ADMIRAL INSURANCE COMPANY,
 a corporation, MT. MCKINLEY INSURANCE          Adversary Proceeding
 COMPANY, a corporation, COLUMBIA
 CASUALTY COMPANY, a corporation,               No. 19-01016 (SDB)
 CONTINENTAL CASUALTY COMPANY, a
 corporation, THE CONTINENTAL INSURANCE
 COMPANY, a corporation, CERTAIN
 UNDERWRITERS AT LLOYD’S, LONDON, a
 corporation, CERTAIN LONDON MARKET
 COMPANIES, corporations, STARR INDEMNITY
 & LIABILITY COMPANY, a corporation,
 BERKSHIRE HATHAWAY SPECIALTY
 INSURANCE COMPANY, a corporation, FIRST
 STATE INSURANCE COMPANY, a corporation,
 ALBA GENERAL INSURANCE COMPANY
 LIMITED, a corporation, THE DOMINION
 INSURANCE COMPANY LIMITED, a corporation,
 EXCESS INS. CO. TO HFPI LTD., a corporation,
 ASSICURAZIONI GENERALI SPA, a corporation,
 HELVETIA ACCIDENT SWISS INSURANCE


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    COMPANY LIMITED, a corporation, LONDON
    AND EDINBURGH GENERAL INSURANCE
    COMPANY LIMITED, a corporation, RIVER
    THAMES INSURANCE COMPANY LIMITED, a
    corporation, STRONGHOLD INSURANCE
    COMPANY LIMITED, a corporation, HARPER
    INSURANCE LTD., a corporation, ARGONAUT
    NORTHWEST INSURANCE COMPANY, a
    corporation, DELTA-LLOYD NON-LIFE
    INSURANCE COMPANY LIMITED, a corporation,
    NATIONAL CASUALTY COMPANY, a
    corporation, NATIONAL CASUALTY COMPANY
    OF AMERICA LIMITED, a corporation,
    NATIONAL UNION FIRE INSURANCE
    COMPANY OF PITTSBURGH, PA, a corporation,
    LEXINGTON INSURANCE COMPANY, a
    corporation, THE NORTH RIVER INSURANCE
    COMPANY, a corporation, HOME INSURANCE
    COMPANY, a corporation, ALLSTATE
    INSURANCE, a corporation, PROTECTIVE
    NATIONAL INSURANCE COMPANY, a
    corporation, ZURICH INTERNATIONAL, a
    corporation, LIBERTY MUTUAL, a corporation,

          Defendants.




                                    JOINT STATUS REPORT

         This adversary proceeding is a declaratory judgment action in which the Plaintiffs seek a

determination regarding coverage under certain historic insurance policies, issued by the Insurer

Defendants,1 for funding of past and ongoing environmental liabilities. On October 3, 2019, the

parties filed a joint motion to stay this action pending the outcome of mediation between the

parties. On October 17, 2019, the Court ordered the action stayed. As part of the Court’s order,

the parties were required to file an initial joint status report on December 16, 2019, and



1
      As these terms are defined in the Joint Status Report filed March 19, 2020 (Dkt. 37) and the
      Complaint for Declaratory Judgment filed in the adversary proceeding (Dkt. 1).

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subsequent status reports each 90 days thereafter while the matter is stayed, pending further

order of the Court. Plaintiffs and the Defendant Insurers jointly file this status report in

compliance with the Court’s order and report the following.

       As the parties previously advised, Plaintiffs and several of the Insurer Defendants have

successfully resolved this matter through mediation. Plaintiffs have agreed to settlement term

sheets with certain Insurer Defendants and those parties are in the process of memorializing those

settlements, including draft long-form agreements. Since the last status report, Plaintiffs and

certain of the settling Insurer Defendants have agreed to the form of agreement, while negotiations

continue with other settling Insurer Defendants. A consistent part of these resolutions involve the

Insurer Defendants’ desire to achieve a comprehensive and definitive resolution, which entails the

parties presenting the Court with a proposal to establish protective mechanisms to bar future claims

against the insurers. Plaintiffs and the settling Insurer Defendants hope to present that proposal to

the Court as part of a joint submission that will resolve the adversary proceeding for those settling

Insurer Defendants.

       At the same time, the mediator, Tim Gallagher of the Gallagher Law Group, continues to

facilitate settlement discussions among Plaintiffs and the remaining non-settling Insurer

Defendants. Those discussions are reaching their conclusion and the parties will soon be able to

determine whether settlements can be agreed upon with the remaining Insurer Defendants (which

remains Plaintiffs’ expectation and goal). In the event settlement cannot be reached with one or

more of the remaining Insurer Defendants, Plaintiffs will inform the Court and the parties will

confer regarding lifting the stay to efficiently resolve the remaining disputes.

       The parties respectfully submit this joint status report to the Court. Absent further direction

by the Court, within thirty days the parties will submit the next report and/or file a motion with the



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Court including the proposal and relief requested that will resolve the adversary proceeding for

those settling Insurer Defendants.



Date: October 28, 2022                      Respectfully submitted,

                                            /s/ Brook B. Roberts
                                            Brook B. Roberts*
                                            Steven Lesan*
                                            Attorneys for Plaintiffs

                                            LATHAM & WATKINS LLP
                                            12670 High Bluff Drive
                                            San Diego, California 92130
                                            Telephone: (858) 523-5400
                                            E-Mail: Brook.Roberts@lw.com
                                            *admitted pro hac vice


                                            /s/ Mattew Levin
                                            Matthew Levin
                                            Georgia Bar No. 448270
                                            Attorneys for ChemicaInvest Holding, B.V

                                            SCROGGINS & WILLIAMSON, PC
                                            4401 Northside Parkway
                                            Suite 450
                                            Atlanta, Georgia 30327
                                            Telephone: (404) 893-3880
                                            E-Mail: mlevin@swlawfirm.com

                                            /s/ Frank J. Perch, III
                                            Frank J. Perch, III
                                            Georgia Bar No. 142225
                                            Attorneys for ACE Property & Casualty Insurance
                                            Company, United States Fire Insurance Company
                                            (with respect to policies GLA 284022 and GLA 540
                                            0797517) and Century Indemnity Company

                                            WHITE AND WILLIAMS LLP
                                            1650 Market Street, Suite 1800
                                            Philadelphia, PA 19103
                                            Phone: (215) 864-6273
                                            E-Mail: perchf@whiteandwilliams.com



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                                    /s/ Thomas W. Tucker
                                    Thomas W. Tucker
                                    Georgia Bar No. 717975
                                    Attorneys for Columbia Casualty Company;
                                    Continental Casualty Company; The Continental
                                    Insurance Company as successor to certain interests
                                    of    Harbor    Insurance     Company;     Certain
                                    Underwriters at Lloyd’s, London; Certain London
                                    Market Companies (The Edinburgh Assurance
                                    Company; World Auxiliary Insurance Company
                                    Limited; Accident & Casualty Insurance Company of
                                    Winterthur (No. 2A/C); Accident & Casualty
                                    Insurance Company of Winterthur (No. 3A/C); New
                                    London Reinsurance Company Limited; and The
                                    Scottish Lion Insurance Company Limited); Starr
                                    Indemnity & Liability Company, formerly known as
                                    Republic Insurance Company; and Berkshire
                                    Hathaway Specialty Insurance Company, formerly
                                    known as Stonewall Insurance Company

                                    TUCKER LONG, P.C.
                                    Post Office Box 2426
                                    Augusta, Georgia 30903
                                    Telephone: (706) 722-0771
                                    E-Mail: ttucker@tuckerlong.com


                                    /s/ Kenan G. Loomis
                                    Kenan G. Loomis
                                    Georgia Bar No. 457865
                                    Attorney for Defendant Employers Insurance of
                                    Wausau, A Mutual Company (mistakenly identified
                                    as Liberty Mutual)

                                    COZEN O’CONNOR
                                    1230 Peachtree Street, N.E.
                                    The Promenade, Suite 400
                                    Atlanta, GA 30309
                                    Telephone: (404) 572-2028
                                    Email: kloomis@cozen.com


                                    /s/ John C. Bonnie
                                    John C. Bonnie
                                    Georgia Bar No. 067540



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                                    Attorneys for National Union Fire Insurance
                                    Company of Pittsburgh, Pa., Lexington Insurance
                                    Company

                                    WEINBERG, WHEELER, HUDGINS,
                                    GUNN & DIAL, LLC
                                    3344 Peachtree Road, N.E., Suite 2400
                                    Atlanta, Georgia 30326
                                    Telephone: (404) 876-2700
                                    E-Mail: jbonnie@wwhgd.com


                                    /s/ Gail Podolsky
                                    Gail Podolsky
                                    Georgia Bar No. 142021
                                    Christopher Freeman
                                    Attorney for Defendants United States Fire
                                    Insurance Company, Mt. McKinley Insurance
                                    Company, and The North River Insurance Company

                                    CARLTON FIELDS
                                    1201 West Peachtree Street
                                    Suite 3000
                                    Atlanta, Georgia 30309
                                    Telephone: (404) 815-2714
                                    E-Mail: gpodolsky@carltonfields.com


                                    /s/ Randolph Frails
                                    Randolph Frails
                                    Georgia Bar No. 272729
                                    Attorneys for First State Insurance Company

                                    RANDOLPH FRAILS, PC
                                    211 Pleasant Home Rd, Ste A-1
                                    Augusta, GA 30907
                                    Telephone: (706) 855-6715
                                    E-Mail: randyfrails@frailswilsonlaw.com


                                    /s/ David M. Stewart
                                    David M. Stewart
                                    Georgia State Bar No.: 142029
                                    Kenneth D. Crowder
                                    Georgia State Bar No.: 123985
                                    Attorneys for Allstate Insurance Company,


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                                    solely as successor in interest to Northbrook
                                    Excess and Surplus Insurance Company

                                    CROWDER STEWART LLP
                                    540 James Brown Boulevard
                                    Post Office Box 160
                                    Augusta, Georgia 30903
                                    Telephone: (706) 434-8799
                                    E-Mail david@crowderstewart.com
                                    ken@crowderstewart.com

                                    /s/ Jay Michael Barber
                                    Jay Michael Barber
                                    GA Bar No. 036823
                                    Attorneys for Admiral Insurance Company

                                    LITCHFIELD CAVO, LLP
                                    2100 Riveredge Parkway, Suite 1200
                                    Atlanta, Georgia 30328
                                    Telephone: (770) 628-7111
                                    E-mail: barber@litchfieldcavo.com


                                    /s/ Taylor Bryant Walker
                                    Taylor Bryant Walker
                                    Georgia Bar No.: 250477

                                    /s/ Ronald D. Puhala
                                    Ronald D. Puhala (admitted Pro Hac Vice)
                                    New Jersey Bar No. 043741991

                                    Attorneys for Alba General Insurance Company
                                    Limited; The Dominion Insurance Company
                                    Limited; Catalina Worthing Insurance Ltd F/K/A
                                    Hfpi (As Part Vii Transferee Of (Excess Insurance
                                    Company Ltd And/Or London & Edinburgh
                                    Insurance Company Ltd As Successor To London &
                                    Edinburgh General Insurance Company Ltd));
                                    Assicurazioni Generali Spa (Uk Branch); Helvetia
                                    Accident Swiss Insurance Company Limited;
                                    London And Edinburgh General Insurance
                                    Company Limited; River Thames Insurance
                                    Company Limited; Harper Insurance Ltd F/K/A
                                    Turegum Ins Co; Argonaut Northwest Insurance
                                    Company; Argonaut Northwest Insurance
                                    Company; Delta-Lloyd Non-Life Insurance


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                                    Company Limited; National Casualty Company;
                                    National Casualty Company Of America Limited;
                                    Catalina Worthing Insurance Ltd F/K/A Hfpi (As
                                    Part Vii Transferee Of (Excess Insurance Company
                                    Ltd And/Or London & Edinburgh Insurance
                                    Company Ltd As Successor To London &
                                    Edinburgh General Insurance Company Ltd))

                                    FIELDS HOWELL LLP
                                    1180 W. Peachtree Street NW, Suite 1600
                                    Atlanta, Georgia 30303
                                    Telephone: (404) 214-1250
                                    Email: twalker@fieldshowell.com

                                    FORAN GLENNON PALANDECH PONZI &
                                    RUDLOFF P.C.
                                    40 Wall Street, 54th Floor
                                    New York, NY 10005
                                    Telephone: (201) 663-0024
                                    Email: rpuhala@fgppr.com




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                                  CERTIFICATE OF SERVICE


       I hereby certify that I have on this day electronically file the foregoing JOINT STATUS

REPORT with the Clerk of the Court using the CM/ECF system, which will automatically send

electronic mail notification of such filing to all attorneys of record.


Date: October 28, 2022
                                               /s/ Brook B. Roberts

                                               Brook B. Roberts*
                                               Steven Lesan*
                                               Attorneys for Plaintiffs

                                               LATHAM & WATKINS LLP
                                               12670 High Bluff Drive
                                               San Diego, California 92130
                                               Telephone: (858) 523-5400
                                               E-Mail: Brook.Roberts@lw.com
                                               E-Mail: Steven.Lesan@lw.com
                                               *admitted pro hac vice




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